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                      UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,                             Case No. 2:10-CR-00347-02-MCE

                     Plaintiff,
        v.                                            ORDER FOR RELEASE OF PERSON
                                                      IN CUSTODY
IMESH PERERA,

                  Defendant.
______________________________/


TO: THE UNITED STATES MARSHAL SERVICE.

This is to authorize and direct you to release IMESH PERERA, No. 2:10-CR-00347-02-MCE,
from custody for the following reasons:

___           Release on Personal Recognizance
___           Bail Posted in the Sum of $
___           Unsecured Appearance Bond
___           Appearance Bond with 10% Deposit
___           Appearance Bond with Surety
___           Corporate Surety Bail Bond
 X            Other: pursuant to order of the Court at the change of plea hearing. The
              defendant was ordered to appear on June 11, 2015, at 9:00 a.m., in courtroom 7.




Issued at Sacramento, California on March 20, 2015 at 9:05 a.m.

DATED: March 20, 2015



                                           ______________________________________
                                           MORRISON C. ENGLAND, JR.
                                           CHIEF UNITED STATES DISTRICT JUDGE
